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   IT IS ORDERED as set forth below:



   Date: June 1, 2022
                                                        _________________________________

                                                                 Jeffery W. Cavender
                                                            U.S. Bankruptcy Court Judge

 ________________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                         :          CHAPTER 7
                                               :
JOHN JOSEPH OLIGA and                          :          CASE NO. 20-60681-JWC
JEANINE BARKER OLIGA,                          :
                                               :
         Debtors.                              :
                                               :

                     ORDER GRANTING APPLICATION TO EMPLOY
                       AUCTIONEER, SUBJECT TO OBJECTION

         S. Gregory Hays, duly appointed Chapter 7 Trustee (“Applicant”) for the bankruptcy

estates (collectively, the “Estate”) of John Joseph Oliga and Jeanine Barker Oliga (“Debtors”),

filed an Application to Employ Auctioneer (the “Application”) [Doc. No. 72] filed on May 31,

2022, to employ Bullseye Auction & Appraisal, LLC (“Bullseye”) as his Auctioneer to recover,

make an inspection of and sell the following real properties with common addresses of: (a) 2471

Saint Patrick Street, SE, Atlanta, DeKalb County, Georgia 30317, and (b) 2475 East Tupelo

Street, SE, Atlanta, DeKalb County, Georgia a.k.a. 2475 Saint Patrick Street, SE, Atlanta,

Georgia 30317 (collectively, the “Properties”), pursuant to the purposes and terms more



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specified in the Application.

        No notice or hearing on the Application is necessary. Based upon the verified statement

included with the Application, it appears that (a) Bullseye does not represent any interest adverse to

the Estate and is disinterested as that term is defined in 11 U.S.C. §101(14) and (b) this case

justifies employment of professionals for the purpose specified.

        Subject to objection filed by the United States Trustee, the Debtors, or any other party in

interest in this case within twenty-one (21) days from the date of entry of this Order, it is here by

ORDER and ADJUDGED as follows:

        1.     Pursuant to 11 U.S.C. § 327(e) and Fed. R. Bankr. P. 2014 and 5002, the

employment of Bullseye to represent the Trustee and the Estate with respect to the Properties as

set forth in the Application is hereby approved.

        2.     No compensation shall be paid to Bullseye until the Court has allowed such

compensation in accordance with 11 U.S.C. §§ 330 and 331 and Fed. R. Bankr. P. 2016, after

notice and a hearing on an appropriate application for compensation, copies of which shall be

served on the United States Trustee, counsel for Debtors, and all other parties in interest.

        Any objection to this Order shall be served on the United States Trustee, the Trustee, and

Debtors. If an objection is timely filed, the Trustee shall schedule a hearing on the Application

and such objection pursuant to the Courts Open Calendar Procedures, and shall provide notice of

such hearing on the Debtors, United States Trustee, and the objecting party.

                                     [END OF DOCUMENT]




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Prepared and presented by:

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